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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS

_________________________________________
DR. SHIVA AYYADURAI,                                          )
                        Plaintiff,                            )
                                                              )
                                                              )
                 v.                                           ) C.A. No. 1:18-cv-11929-RGS
                                                              )
                                                              )
THE UNIVERSITY OF MASSACHUSETTS,                              )
MARTY MEEHAN, DAVID CASH,                                     )
                        Defendants.                           )
_________________________________________
                  PLAINTIFF’S SUPPLEMENTAL BRIEF IN SUPPORT OF
                      MOTION FOR PRELIMINARY INJUNCTION

          Between the announcement of the October 30, 2018 debate (the “Debate”) on September

4, 2018 and the morning of October 3, 2018, the Debate hosts had not released any criteria through

which candidates could participate. At 4:08 a.m. on October 3—the same day as the hearing before

this Court for his motion for preliminary injunction—Dr. Ayyadurai finally received a list of

criteria (“Criteria”) setting forth the prerequisites needed for participation in the Debate. Through

these Criteria, the Debate hosts, including Defendants, violate Dr. Ayyadurai’s rights guaranteed

by the First and Fourteenth Amendments to the United States Constitution because the Criteria

cannot be justified by any state interest and constitute viewpoint discrimination.

          The criteria letter sets forth four criteria that must all be met before Dr. Ayyadurai can

participate in the Debate.1 First, Dr. Ayyadurai must be a legally qualified candidate to appear on

the ballot in Massachusetts and eligible to hold the office of United States Senator. Second, Dr.

Ayyadurai must have clear evidence of a formal campaign. Third, Dr. Ayyadurai must meet a 10%



1
    The Criteria letter lists the University as a member of the Consortium hosting the Debate.
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polling threshold. Specifically, “[a]t least 10 percent of people surveyed in two recent (i.e. post

primary) independent polls must express their support for the candidate in the general election.

The independent polls must be conducted by reputable media outlets or institutions (as determined

by the Consortium) and published by October 19, 2018.” Finally, Dr. Ayyadurai’s campaign must

have raised a minimum of $50,000 in individual contributions during the court of the election

period. The letter concludes by placing the “burden of proof for determination of participation in

the debate” on Dr. Ayyadurai, who must provide documentation and information to prove he meets

all of the Criteria by October 19, 2018.

       Despite being dated October 2, 2018, the Criteria were transmitted to Dr. Ayyadurai at 4:08

a.m. on October 3, 2018. Regardless of the coincidental nature of the creation of the Criteria on

the same day this Court heard oral argument on Dr. Ayyadurai’s motion for preliminary

injunction—a coincidence made ever more extraordinary given Defendants’ repeated assertions

that they were not at all involved with determination of the debate criteria—it nonetheless afforded

Dr. Ayyadurai’s counsel no time to craft an appropriate response before the hearing. Accordingly,

counsel takes this opportunity to do so now.

       After hearing arguments from counsel for all parties, the Court correctly found that the

Debate constitutes state action. The Court also determined, in light of the then-hours old Criteria,

that Dr. Ayyadurai’s claims would not ripen until October 19, the deadline to meet the Criteria.

       Dr. Ayyadurai meets all of the Criteria. The polling data as publicly presented makes a

mathematical error. The attached report from the Dr. Shah, a statistician from the Massachusetts

Institute of Technology and an eminent scholar in the field of data analysis, demonstrates that all

three post-primary polls incorporate a mathematical error in calculating the head-to-head

favorability of every candidate including Dr. Ayyadurai. After correcting for this error, the head-




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to-head favorability for Dr. Ayyadurai is 15% among very likely/likely voters; roughly 20%

among registered voters; and, 41% among somewhat likely voters. As a result, Dr. Ayyadurai

meets and exceeds the 10% polling threshold of the challenged Criteria across multiple voting

groups and across multiple polls.

       The “Consortium” that includes the University has barred Dr. Ayyadurai from

participating in the Debate despite the submission of Dr. Shah’s report and evidence that Dr.

Ayyadurai has satisfied all of the Consortium’s hastily established criteria.2 More importantly, the

polling threshold requirement is a Criterion that serves no valid governmental interest. As a result,

this Court should order Defendants to permit Plaintiff’s participation in the upcoming debate.

                                          ARGUMENT

       Defendants’ exclusion of Dr. Ayyadurai from the Debate violates his free speech rights

under the First Amendment and his equal protection rights under the Fourteenth Amendment

because his exclusion cannot be supported by a sufficient state interest and constitutes viewpoint

discrimination.

       “Premised on mistrust of governmental power” the First Amendment is at “‘its fullest and

most urgent application’ to speech uttered during a campaign for political office.” Citizens United

v. FEC, 558 U.S. 310, 339-40 (2010). Speech concerning salient political issues is constitutionally

enshrined because it is “the type of speech [that is] indispensable to decision making in a

democracy[.]” First Nat’l Bank v. Bellotti, 435 U.S. 765, 776-77 (1978). “[R]egulations affecting




2
  Attached hereto as Supplemental Exhibit A is a communication sent to the Consortium on
Wednesday, October 17, 2018 and the Consortium’s response on Friday, October 19, 2018. The
Consortium has now expressly prohibited Dr. Ayyadurai from participating in the Debate and did
so without informing Dr. Ayyadurai of which criteria they determined he failed to meet and
without providing any response to the report of Dr. Shah.



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speech on government property that has been traditionally devoted to expressive activity, or on

property, which although not traditionally open for assembly and debate has been designated for

these purposes by government, is subject to the strictest of scrutiny.” Parow v. Kinnon, 300 F.

Supp. 2d 256, 267 (D. Mass. 2004) (Stearns, D.J.) (emphasis added) (citing Perry Education Ass’n

v. Perry Local Educators’ Ass’n, 460 U.S. 37, 45 (1983)). “[T]he State may reserve the forum for

its intended purposes, communicative or otherwise, as long as the regulation on speech is

reasonable and not an effort to suppress expression merely because public officials oppose the

speaker’s view.” Perry, 453 U.S., at 131, n. 7 (emphasis added). The Supreme Court has noted

that:

        A burden that falls unequally on new or small parties or on independent candidates
        impinges, by its very nature, on associational choices protected by the First Amendment.
        It discriminates against those candidates and – of particular importance – against those
        voters whose political preferences lie outside existing political parties. By limiting the
        opportunities of independent-minded voters to associate in the electoral arena to enhance
        their political effectiveness as a group, such restrictions threaten to reduce diversity and
        competition in the marketplace of ideas. Historically political figures outside the two major
        parties have been fertile sources of new ideas and new programs; many of their challenges
        to the status quo have in time made their way into the political mainstream.

Anderson v. Celebrezze, 460 U.S. 780, 793-794 (1983) (internal citations and quotation omitted).

        Dr. Ayyadurai is running as an Independent candidate in Massachusetts, where nearly 57%

of the voters are registered as Independent without any major party affiliation. As discussed in the

motion for preliminary injunction, candidate debates are subject to greater scrutiny, and the Debate

is no exception. Mot. for Prelim. Inj. 8-10. See also Libertarian Nat’l Comm., Inc. v. Holiday, 2014

U.S. Dist. LEXIS 145969, * 14 (D.D.C. 2014). While we maintain that heightened scrutiny applies

here, however, Defendants’ exclusion of Dr. Ayyadurai fails under any level of scrutiny because

it cannot be supported by a sufficient government interest, it is unreasonable, and it is arbitrary in

all but name.




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   I.      DEFENDANTS CANNOT SUPPORT THE EXCLUSION OF DR. AYYADURAI
           FROM THE DEBATE WITH SUFFICIENT STATE INTEREST

        Regardless whether Defendants and their Debate co-hosts exclude Dr. Ayyadurai

arbitrarily, as they did prior to October 3, or exclude him based on post hoc justifications, they

cannot support their exclusion, and the resulting suppression of Dr. Ayyadurai’s protected political

speech, with a sufficient government interest. Defendants, as state actors, may prohibit candidates

from participating in debates in order to further interests such as avoiding the participation by a

flood of non-serious candidates, which would “actually undermine the educational value and

quality of debates.” Ark. Ed. Television Comm’n v. Forbes, 523 U.S. 666 (1998). Defendants’

actions further no such interest here because Dr. Ayyadurai is a serious candidate, there are only

three ballot qualified candidates in this race, and Defendants have not argued that they have an

interest in prohibiting Dr. Ayyadurai’s debate participation. Moreover, Dr. Ayyadurai is an

Independent candidate in Massachusetts, where nearly 57% of the registered voters are

Independent having no affiliation with either major party.

        First, Dr. Ayyadurai is a serious candidate. As discussed at length in the complaint, motion

for preliminary injunction, and reply, Dr. Ayyadurai was the first candidate to announce his

candidacy on February 2017 and was the first ballot qualified candidate in the race. Dr. Ayyadurai

and his volunteers gathered nearly 20,000 signatures, of which they submitted a portion to the

Secretary of State of Massachusetts to get nearly 12,000 certified to be the first on the ballot for

the general election for U.S. Senate. By law, only 10,000 signatures are required to get on the

ballot. Dr. Ayyadurai has been actively campaigning for this seat since February 2017 and has

raised and spent roughly $5 million—roughly $200,000 of which came from individual

contributions. Dr. Ayyadurai’s candidacy has garnered national media attention (including Boston

Globe, Washington Post, New York Times, Wall Street Journal, Boston Herald, NY Daily News,



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National Public Radio, WGBH, Fox News, NBC, CNN, CBS, NECN, The Nation, Mother Jones,

and Newsweek). Dr. Ayyadurai employs campaign staff and maintains a campaign

office/headquarters. In this way, Dr. Ayyadurai is very different from nearly all of the plaintiffs in

the cases Defendants have cited thus far. See Forbes, 523 U.S. at 682 (excluded candidate

“described his campaign organization as ‘bedlam’ and the media coverage of his campaign as

‘zilch.’”) (cited by Defendants throughout their opposition brief); Johnson v. Suffolk Univ., 2002

U.S. Dist. LEXIS 20762 (D. Mass. 2002) (“Recent polls cited by [the excluded candidate]

demonstrate she has 1% of the vote.” Further, the excluded candidate raised much less than Dr.

Ayyadurai and does not appear to have had any appreciable media coverage or campaign

infrastructure.); Ala. Libertarian Party v. Ala. Public Tel., 227 F. Supp. 2d 1213 (M.D. Ala. 2002)

(Excluded candidate only achieved 2% preference in polling. The polling threshold was only 5%,

much lower than the threshold at issue here.); Jenness v. Fortson, 403 U.S. 431, 442 (1971)

(Candidate could not gain access to the ballot because he could not get enough petition signatures

or pay the filing fee, unlike Dr. Ayyadurai who was the first candidate to gain access to the ballot

in this race).

        Second, allowing Dr. Ayyadurai to participate, or removing the polling threshold criteria,

will not result in a flood of candidates participating in the Debate thereby “undermin[ing] the

educational value and quality of debate[].” Forbes, 523 U.S. at 681. There are only three ballot

qualified candidates for United States Senate in Massachusetts this election cycle. Therefore,

allowing them all (which means only one more than is currently permitted) to participate, will

allow plenty of participation by all candidates without the “bedlam” or “cacophony” contemplated

in Forbes. In this way, this case is different from the rest of the cases Defendants have cited, where

the courts found that the government had an interest in conditioning candidate participation on




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criteria. See Johnson v. Comm’n on Presidential Debates, 869 F.3d 976, 979 (D.C. Cir. 2017) (at

least six ballot qualified candidates); Johnson, 2002 U.S. Dist. LEXIS 20762 (five ballot qualified

candidates, including three non-major party candidates). See also Editorial: Why are organizers

excluding Ayyadurai from U.S. Senate debates?, THE LOWELL SUN (Sept. 15, 2018),

http://www.lowellsun.com/breakingnews/ci_32140531/why-are-organizers (discussing the 3rd

Congressional District Democratic primary debates co-hosted by the Lowell Sun, which included

all 10 candidates) (“[I]f we can accommodate 10 candidates -- because it is the right thing to do -

- why can't The Boston Globe, WBZ-TV, WCVB-TV, Springfield news outlets, the Springfield

Public Forum, and UMass-Boston, do the same?”); EDITORIAL: Why are organizers excluding

Ayyadurai    from   U.S.   Senate    debates?,   Sentinel   &   Enterprise   (Sept.   17,   2018),

http://www.sentinelandenterprise.com/editorial/ci_32140491/why-are-organizers-excluding-

ayyadurai-from-u-s-senate-debates (accord); Our View: Senate debates should include all three

candidates, THE EAGLE TRIBUNE (Oct. 17, 2018), https://www.eagletribune.com/opinion/our-

view-senate-debates-should-include-all-three-candidates/article_84ae3031-4c76-5f6e-b9b6-

6d8df97cf5e4.html (“Party affiliation, or lack thereof, shouldn’t be prerequisite to debate,

especially in a state where more than half of all voters don’t declare a party affiliation. When

Warren and Diehl face each other, Ayyadurai should be standing next to them.”); Our view: Senate

debates should include all three candidates, THE SALEM NEWS (Oct. 18, 2018),

https://www.salemnews.com/opinion/editorials/our-view-senate-debates-should-include-all-

three-candidates/article_add01099-fa71-51ac-ba94-e30a184b2961.html (accord); EDITORIAL:

Senate debates should include all three candidates, THE DAILY NEWS (Oct. 18, 2018),

https://www.newburyportnews.com/editorials/editorial-senate-debates-should-include-all-three-

candidates/article_cb5488a3-b5fb-5ff4-b6d7-1682be5801cb.html (accord).




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        Furthermore, similar debates have operated successfully in the past with the participation

of more than two candidates and candidates who polled well below 10%. The 2014 Massachusetts

gubernatorial debate hosted by WBZ-TV included all five ballot qualified candidates including

one Republican, one Democrat, one United Independent, and two Independent candidates. The

only requirement to be on the stage was to get 10,000 signatures, as Dr. Ayyadurai has

accomplished. [2014] Massachusetts Gubernatorial Debate, C-SPAN (Oct. 7, 2018),

https://www.c-span.org/video/?321895-1/massachusetts-governors-debate.        See    also    2014

Massachusetts Governor – Baker vs. Coakley Polling Data, Real Clear Politics,

https://www.realclearpolitics.com/epolls/2014/governor/ma/massachusetts_governor_baker_vs_c

oakley-3266.html (last visited Oct. 18, 2018) (showing some debate participants polling as low as

1%). The 2010 Massachusetts gubernatorial debate hosted at the University, included four

gubernatorial candidates, some of whom were also polling lower than Dr. Ayyadurai. Steve

LeBlanc, Gov hopefuls talk ed funding, BRATTLEBORO REFORMER (Sept. 30, 2010),

https://www.reformer.com/stories/gov-hopefuls-talk-ed-funding,117741;         Will     Richmond,

Massachusetts candidates for governor set to debate at UMass Dartmouth, WICKED

LOCAL/SWANSEA (Sept. 2, 2010), http://swansea.wickedlocal.com/x861577472/Massachusetts-

candidates-for-governor-set-to-debate-at-UMass-Dartmouth; 2010 Massachusetts Governor –

Baker     vs.    Patrick     vs.    Cahill    Polling     Data,     REAL     CLEAR      POLITICS,

https://www.realclearpolitics.com/epolls/2010/governor/ma/massachusetts_governor_baker_vs_

patrick_vs_cahill-1154.html (last visited Oct. 18, 2018) (showing some debate participants polling

as low as 1%). Just this year, the University sponsored and hosted two 3rd Congressional District

Democratic Primary debates, each with six different candidates participating, some of who polled

at only 1% or less. 2018 3rd District Congressional Debates, UMASS LOWELL,




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https://www.uml.edu/Research/public-opinion/debates/3rd-Congressional.aspx (last visited Oct.

18, 2018); Chris Lisinski, Das, Littlefield blast UMass Lowell debate criteria, THE LOWELL SUN

(Apr. 26, 2018), http://www.lowellsun.com/breakingnews/ci_31834441/das-littlefield-blast-uml-

debate-criteria.

       Accordingly, allowing all ballot qualified candidates to participate in the debate, will not

somehow open the floodgates to non-serious candidates because all three ballot qualified

candidates are serious candidates and there are only three of them. Cf. Forbes, 523 U.S. at 679;

Libertarian Nat’l Comm., Inc., 2014 U.S. Dist. LEXIS 145969, * 24-27; supra at 8-9. Therefore,

there is no legitimate or rational justification for prohibiting Dr. Ayyadurai’s participation in the

Debate.

       Third, despite counsel for Dr. Ayyadurai arguing vigorously that the Defendants have no

legitimate interest or justification in prohibiting Dr. Ayyadurai from participating in the debate,

Compl. at 9-10; Mot. Prelim. Inj. at 7, 13-15, 19-20; Oral Argument generally, and Defendants

responding to those arguments in their opposition brief, Opp. Br. at 16-18, Defendants have never

once argued that they indeed have a legitimate government interest in excluding the third and only

other legally qualified candidate from the debate. In fact, it is a reasonable to read their arguments

in their opposition brief and during oral arguments, insisting that there is no government action, to

mean that they indeed do not have an interest in prohibiting Dr. Ayyadurai. How can the University

have an interest in something they previously denied taking part in? Nevertheless, the Defendants

and the University have no legitimate or reasonable interest in prohibiting ballot qualified

candidates from participating in their debate. Accordingly, Dr. Ayyadurai’s exclusion from the

Debate is unconstitutional under the First and Fourteenth Amendments and he is therefore likely

to succeed on the merits of his claim.




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    II.      THE HASTILY-ESTABLISHED CRITERIA CONSTITUTE VIEWPOINT
             DISCRIMINATION

    A. Polling Is Not A Not A Reasonable Method Of Gauging Support For Independent
       Candidates

          While polling may be one factor used to determine demonstrated voter support, it should

not be the determinative factor in prohibiting protected political speech. This is especially true

when polling is used to determine voter support/favorability of Independent or third party

candidates and conditioning their participation in debates on such support/favorability.

          As discussed in length in the Report of Dr. Devavrat Shah,3 (which provides an analysis of

the three existing post-primary polls without making any forecasts or projections), attached hereto

as Supplemental Exhibit B, reveals that the three post-primary polls rely on a fundamental

mathematical error in calculating the head-to-head favorability all candidates including Dr.

Ayyadurai. Specifically, the polls are dividing by the wrong number (the denominator) when

calculating the head-to-head favorability percentages for each candidate. Even more specifically,

they are dividing by a denominator, which assumes that all candidates are at near 100% visibility.

This error has historically not been detected. The polls, in summary, fail to appropriately account

for visibility when calculating their percentages, which clearly skew the assessment of a third-

party candidate’s standing. Supp. Ex. B. Accordingly, in correcting for these inaccuracies, Dr.

Ayyadurai’s favorability, calculated using the correct denominator, is between 14% and 16% for

very likely/likely voters; roughly 20% among registered voters; and, 41% among somewhat likely

voters. Supp. Ex. B. Moreover, given Dr. Ayyadurai’s affiliation as an Independent candidate,




3
  Dr. Shah is a professor in the Department of Electrical Engineering and Computer Science and
the Director of Statistics and Data Science Center at the Massachusetts Institute of Technology.
Dr. Shah’s Curriculum Vitae is attached hereto as Supplemental Exhibit C.



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which also happens to be the affiliation of the vast majority of Bay Staters,4 his candidacy will

have an impact on who turns out and in what numbers. Supp. Ex. B. The analysis also reveals that

75% of those who are predicted to vote for Dr. Ayyadurai will be Independents. Further, polling

of Independent likely voters is skewed because, given the fact that they are not affiliated with a

major party, they are less likely to identify as likely voters, even if they do vote. For example, the

poll conducted by the University and the Boston Globe determined that while 60% of both

Democrats and Republicans were classified as “likely voters” only 45% of Independents, Dr.

Ayyadurai’s base, were classified as likely voters. Because the polls only counted likely voters

and very likely voters in their poll, there will clearly be a sample bias against Independent

candidates and Dr. Ayyadurai, artificially keeping him from participating in the Debate. This

inaccuracy is evidenced in the University/Boston Globe poll by the higher margin of error for

likely voters (+/-5.6%) compared to registered voters (+/-4.4).

       Further, utilizing polling thresholds as the determinative factor for admission into debates

is not reasonable or fair to third party candidates because they are effectively designed to keep

third party candidates out. See Level the Playing Field v. FEC, 232 F. Supp. 3d 130, 141-45

(D.D.C. 2017) (discussing evidence that using polling data to gauge demonstrated support is

unreliable both generally and for Independent or third party participation in debates). Few third

party candidates can achieve polling thresholds since they do not have the backing of a major

party. See id. at 143-44. Further, in order to achieve demonstrated support as shown by polling,




4
  As of August, 2018 there are a total of 4,493,007 registered voters in Massachusetts, of which
2,474,535 are unenrolled (Independent), 1,492,399 are registered Democrats, and 465,952 are
registered Republicans. Office of the Secretary of the Commonwealth of Massachusetts,
Massachusetts           Registered            Voter             Enrollment:         1948–2018,
https://www.sec.state.ma.us/ele/eleenr/enridx.htm (last visited Oct. 16, 2018).



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third party candidates must spend a disproportionate amount of money compared to their major

party counterparts to achieve the visibility necessary to achieve poll performance. See id.

Accordingly, polling criteria are not objective, but instead designed to keep third-party or

independent candidates out of debates. See id. at 143. See also id. at 145 (crediting evidence as

being of substantial weight where that evidence showed that a polling threshold criteria was

designed to keep candidates not from major parties out of debates).

       Even Forbes, 523 U.S. 666, a case Defendants rely so heavily on, did not employ polling

threshold criteria, as they do here. Defendants in that case instead relied on a more holistic set of

criteria, which were necessary in that case to keep out a flood of less-than-serious candidates. The

Criteria here are much more severe and exclusionary to minor party/Independent candidates, like

Dr. Ayyadurai. Indeed, Dr. Ayyadurai, while being excluded from the Debate at issue in this case,

would have qualified to participate in the debate at issue in Forbes.

       Simply put, polls are not accurate or reasonable representations of which candidates are

“serious” or enjoy demonstrated support5 and therefore should not be used as determinative factors

for participation in political speech by state actors. Accordingly, the Defendants’ use of polling as

a necessary criterion Dr. Ayyadurai must overcome is violative of Dr. Ayyadurai’s rights under

the First and Fourteenth Amendments to the United States Constitution.




5
  Although Dr. Ayyadurai concedes that there is federal precedent to “partially” support the point
that lack of demonstrated voter support is a valid justification to exclude a candidate from a debate,
Pls. Reply Br. at 7-8 (ECF 15), the point is that the polls used here—and polls generally—are both
statistically biased and unreliable to sufficiently gauge voter support for Independent candidates,
especially when used as necessary criteria and failing to account for the impact of visibility on
third party candidates.



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   B. The Criteria Constitute Post Hoc Justification For Viewpoint Discrimination

       Under these circumstances, the Criteria constitute viewpoint discrimination because they

are designed to and have the effect of preventing just one candidate from participating in the

Debate—Dr. Ayyadurai.

       First, it does not appear that Dr. Ayyadurai’s opponents who are endorsed by either major

party received this same letter. In fact, based in a letter produced by Defendants in their Opposition

Brief, Defendants invited Dr. Ayyadurai’s Democratic opponent, Elizabeth Warren, to not only

participate in the Debate but also decide when the Debate was to be held. Defs.’ Ex. 3-A. This

invitation was not conditioned on Elizabeth Warren’s satisfaction of any criteria and was sent on

August 14, 2018, a full month and a half before Dr. Ayyadurai received the Criteria. Accordingly,

even if Dr. Ayyadurai’s major-party opponents received the Criteria letter, their participation in

the Debate was all but promised by the Consortium ahead of time.

       Further, the Criteria were created after or during all of the polls through which they

condition participation in the Debate. All of those polls were conducted by or on behalf of

Defendants’ Consortium co-hosts. The one poll that had not yet concluded by the release of the

Criteria had begun 2 days prior and was conducted by the University and the Boston Globe—both

hosts of the Debate. Accordingly, Defendants knew or could easily have known that the Criteria

would exclude Dr. Ayyadurai, and only Dr. Ayyadurai, from the Debate. Defendants cannot now

save themselves simply by creating facially objective criteria post hoc which do exactly what they

were doing before in an arbitrary manner—excluding Dr. Ayyadurai based on his party affiliation.

And once again, these polls were conducted without correcting for visibility as demonstrated by

Dr. Shah’s report.




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       Such retroactive justification cannot stand in a case such as this one where the First

Amendment is at “its fullest and most urgent application.” Citizens United, 558 U.S. at 339-40.

“[T]he State may reserve the forum for its intended purposes, communicative or otherwise, as long

as the regulation on speech is reasonable and not an effort to suppress expression merely because

public officials oppose the speaker’s view.” Perry, 453 U.S., at 131, n. 7 (emphasis added). “[P]ost

hoc justification . . . cannot satisfy the requirement that ‘viewpoint neutral’ regulations abridging

speech must be narrowly tailored to achieve substantial governmental interests.” Regan v. Time,

Inc., 468 U.S. 641, 688 n. 27 (1984). See also 60 Fed. Reg. 64,262 (1995) (In order to qualify for

the safe harbor provisions of the Federal Election Campaign Act of 1971 (“FECA”), organizations

that stage presidential debates “must be able to show that their objective criteria were used to pick

the participants, and that the criteria were not designed to result in the selection of certain pre-

chosen participants.”); Buchanan v. FEC, 112 F. Supp. 2d 58, 74-76 (D.D.C. 2000) (“the

objectivity requirement precludes debate sponsors from selecting a level of support so high that

only the Democratic and Republican nominees could reasonably achieve it.”) (affirming the FEC’s

interpretation permitting polling threshold only because of the substantial deference it had to

accord to the FEC's interpretation of its own regulations and the extremely heavy burdens plaintiffs

must have overcome, unlike in this case).

       The Criteria are post hoc justification in order to further the pre-determined exclusion of

Dr. Ayyadurai from the Debate. The utilization of the Criteria therefore constitute viewpoint

discrimination in violation of the First and Fourteenth Amendments.

                                         CONCLUSION

       Because Defendants’ utilization of polling thresholds in the Criteria violate Dr.

Ayyadurai’s rights under the First and Fourteenth Amendments, Dr. Ayyadurai is likely to succeed




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on the merits of his claim. Accordingly, he respectfully requests this Court grant his motion for

preliminary injunction.



Respectfully submitted,

October 19, 2018                                      /s/ Timothy Cornell
Boston, MA                                           Timothy Cornell BBO # 654412
                                                     Cornell Dolan, P.C.
                                                     One International Place, Suite 1400
                                                     Boston, MA 02110
                                                    (617) 535-7763
                                                    (617) 535-7650 (fax)
                                                    tcornell@cornelldolan.com

                                                    Jason Torchinsky (VA 47481)
                                                    Dennis W. Polio (CT 438205)
                                                    (Pro hac vice applications to be filed)
                                                    HOLTZMAN VOGEL
                                                    JOSEFIAK TORCHINSKY PLLC
                                                    45 North Hill Drive, Suite 100
                                                    Warrenton, VA 20186
                                                    (540) 341-8808
                                                    Fax: (540) 341-8809
                                                    jtorchinsky@hvjt.law
                                                    dwpolio@hvjt.law




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                               CERTIFICATE OF SERVICE

       I will file the foregoing document with the Clerk of this Court using the CM/ECF system
which instantaneously sent a Notice of Electronic Filing to all counsel required to be served.


                                     /s/ Timothy Cornell
                                       Timothy Cornell




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